




NO. 07-09-0084-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



OCTOBER 16, 2009

______________________________



ANNABELLA TORRES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE

_________________________________



FROM THE 47TH DISTRICT COURT OF POTTER COUNTY;



NO. 51,350-A; HONORABLE HAL MINER, JUDGE

_______________________________





Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

On December 2, 2005, appellant, Annabella Torres, entered a plea of guilty to the offense of aggravated robbery and was placed on deferred adjudication for a period of ten years. &nbsp;Subsequently, the State of Texas filed a motion to adjudicate alleging a number of violations of her terms and conditions of community supervision. &nbsp;On January 28, 2009, the trial court held a hearing on the State’s motion to adjudicate appellant. &nbsp;Appellant entered a plea of true to the allegations that she violated her terms and conditions of community supervision. &nbsp;Appellant’s plea of true was without any agreement as to punishment. &nbsp;After hearing the evidence, the trial court adjudicated her guilty and sentenced her to a term of confinement of 15 years in the Institutional Division of the Texas Department of Criminal Justice. &nbsp;It is from this judgment that appellant appeals.

Appellant’s attorney has filed an 
Anders
 brief and a motion to withdraw. &nbsp;
Anders v. California
, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed. 2d 498 (1967); 
In re Schulman
,
 252 S.W.3d 403 (Tex.Crim.App. 2008). &nbsp;In support of his motion to withdraw, counsel certifies that he has diligently reviewed the record, and in his opinion, the record reflects no reversible error upon which an appeal can be predicated. &nbsp;
Anders
, 386 U.S. at 744-45. &nbsp;In compliance with 
High v. State
, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978), counsel has candidly discussed why, under the controlling authorities, there is no error in the trial court’s judgment. &nbsp;Additionally, counsel has certified that he has provided appellant a copy of the 
Anders
 brief and motion to withdraw and appropriately advised appellant of his right to file a 
pro se
 response in this matter. &nbsp;
Stafford v. State
, 813 S.W.2d 503, 510 (Tex.Crim.App. 1991). &nbsp;The court has also advised appellant of his right to file a 
pro se
 response. &nbsp;Appellant has not filed a response.

By his 
Anders
 brief, counsel raises grounds that could possibly support an appeal, but concludes the appeal is frivolous. &nbsp;We have reviewed these grounds and made an independent review of the entire record to determine whether there are any arguable grounds which might support an appeal. &nbsp;
See
 
Penson v. Ohio
, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988); 
Bledsoe v. State
, 178 S.W.3d 824 (Tex.Crim.App. 2005). &nbsp;We have found no such arguable grounds and agree with counsel that the appeal is frivolous.

Accordingly, counsel’s motion to withdraw is hereby granted and the trial court’s judgment is affirmed.
(footnote: 1)


Mackey K. Hancock

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice





Do not publish. 

FOOTNOTES
1: 
Counsel shall, within five days after this opinion is handed down, send his client a copy of the opinion and judgment, along with notification of appellant’s right to file a 
pro se
 petition for discretionary review. &nbsp;
See
 
Tex. R. App. P
. 48.4.




